            Case 2:14-cr-00096-JCC            Document 24       Filed 05/20/14      Page 1 of 2




                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8

 9      UNITED STATES OF AMERICA,                            CASE NO. CR14-0096-JCC
10                               Plaintiff,
                                                             MINUTE ORDER
11               v.

12      STEVEN ASIR THOMAS,
13                               Defendant.
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16          The following Minute Order is made by direction of the Court, the Honorable John C.
17 Coughenour, United States District Judge:

18          The Court, having considered the United States’ unopposed motion to continue the trial
19 date (Dkt. No. 22), Defendant Steven Thomas’ waiver of his right to a speedy trial through

20 October 31, 2014, and the balance of the record, hereby makes the following findings:

21          1.        The Court finds that the ends of justice will be served by ordering the continuance
22 in this case and that the continuance is necessary to ensure effective trial preparation by

23 Defendant’s counsel. These factors outweigh the best interests of the Defendant and the public in

24 a more speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7)(A).

25          2.        The Court further finds that the defense and government have thus far exercised
26 due diligence, and that the failure to grant a continuance would deny counsel for Defendant the



     MINUTE ORDER, CR14-0096-JCC
     PAGE - 1
            Case 2:14-cr-00096-JCC         Document 24       Filed 05/20/14     Page 2 of 2




 1 reasonable time necessary for effective preparation. See id. § 3161(h)(7)(B)(iv).

 2         3.      Defendant Steven Thomas has waived his rights to a speedy trial from June 2,

 3 2014, up to and including October 31, 2014, under the Federal Speedy Trial Act, 18 U.S.C §

 4 3161 et seq., and the Sixth Amendment of the United States Constitution. (Dkt. No. 23.)

 5         It is therefore ORDERED that the trial date be continued from June 2, 2014, to

 6 September 29, 2014. Any pre-trial motions shall be filed, briefed, and noted for the Court’s

 7 consideration no later than August 28, 2014.

 8         It is further ORDERED that the period of time from June 2, 2014, to September 29, 2014

 9 shall be excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161, et seq.

10         It is further ORDERED that the parties’ motion to extend the pre-trial motions deadline

11 (Dkt. No. 21) is DENIED as moot.

12         DATED this 20th day of May 2014.

13                                                        William M. McCool
                                                          Clerk of Court
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                                                          s/Mary Duett
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                                                          Deputy Clerk
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     MINUTE ORDER, CR14-0096-JCC
     PAGE - 2
